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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       ) Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                   )
                                                                       ) Case No. 19-34054 (SGJ)
                      Reorganized Debtor.                              )
                                                                       )
                                                                       )
In re:                                                                 )
                                                                       )
THE CHARITABLE DAF FUND, L.P., and CLO                                 )
HOLDCO, LTD.,                                                          )
                                                                       )
                           Appellants,                                 )
                                                                       ) Case No: 3:21-cv-03129-N
v.                                                                     )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )
                                                                       )
                             Appellee.                                 )
                                                                       )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On March 28, 2022, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:



                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Appellee's Motion to Dismiss Appeal as Constitutionally Moot [Docket No. 7]

Dated: March 30, 2022
                                            /s/ Esmeralda Aguayo
                                            Esmeralda Aguayo
                                            KCC
                                            222 N Pacific Coast Highway, Suite 300
                                            El Segundo, CA 90245




                                            2
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                          EXHIBIT A
                                            8 Exhibit
              Case 3:21-cv-03129-N DocumentAppeals
                                                Filed  A
                                                         03/31/22
                                                   Service List
                                                                                              Page 4 of 6 PageID 2966
                                                              Served via Electronic Mail


              Description                      CreditorName                     CreditorNoticeName                          Email
Financial Advisor to Official Committee                                   Earnestiena Cheng, Daniel H      Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting                    O'Brien                          Daniel.H.O'Brien@fticonsulting.com
                                                                          Melissa S. Hayward, Zachery Z.   MHayward@HaywardFirm.com;
Counsel for the Debtor                    Hayward & Associates PLLC       Annable                          ZAnnable@HaywardFirm.com
                                                                                                           rpachulski@pszjlaw.com;
                                                                                                           jpomerantz@pszjlaw.com;
                                                                          Richard M. Pachulski, Jeffrey N. ikharasch@pszjlaw.com;
                                                                          Pomerantz, Ira D. Kharasch,      joneill@pszjlaw.com;
                                                                          James E. O’Neill, Robert J.      rfeinstein@pszjlaw.com;
                                          Pachulski Stang Ziehl & Jones   Feinstein, John A. Morris,       jmorris@pszjlaw.com;
Counsel for the Debtor                    LLP                             Gregory V. Demo                  gdemo@pszjlaw.com
                                                                          Robert Joel Feinstein, Hayley R. rfeinstein@pszjlaw.com;
                                          Pachulski Stang Ziehl & Jones   Winograd, Judith Elkin, Jordan A hwinograd@pszjlaw.com;
Counsel for the Debtor                    LLP                             Kroop, Robert J Feinstein        jelkin@pszjlaw.com
Counsel for CLO Holdco, Ltd. and                                          Mazin A Sbaiti, Jonathan         MAS@SbaitiLaw.com;
Charitable DAF Fund, L.P.                 Sbaiti & Company PLLC           Bridges, Kevin N Colquitt        jeb@sbaitilaw.com
                                                                                                           mclemente@sidley.com;
                                                                          Matthew Clemente, Alyssa         alyssa.russell@sidley.com;
Counsel for Official Committee of                                         Russell, Elliot A. Bromagen,     ebromagen@sidley.com;
Unsecured Creditors                       Sidley Austin LLP               Dennis M. Twomey                 dtwomey@sidley.com
Counsel for Official Committee of                                                                          preid@sidley.com;
Unsecured Creditors, Marc. S.                                             Penny P. Reid, Paige Holden      pmontgomery@sidley.com;
Kirschner, as Litigation Trustee of the                                   Montgomery, Juliana Hoffman,     jhoffman@sidley.com;
Highland Litigation Sub-Trust             Sidley Austin LLP               Chandler M. Rognes               crognes@sidley.com
Bankruptcy Judge                          US Bankruptcy Court             Hon. Stacey G Jernigan           sgj_settings@txnb.uscourts.gov




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                          EXHIBIT B
                                      Case 3:21-cv-03129-N Document 8 Exhibit
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                                                                                 Appeals Service List
                                                                              Served via First Class Mail


            Description                    CreditorName            CreditorNoticeName                  Address1              Address2      Address3 City    State      Zip
Counsel for CLO Holdco, Ltd. and                              Mazin A Sbaiti, Jonathan                                                     Suite
Charitable DAF Fund, L.P.             Sbaiti & Company PLLC   Bridges, Kevin N Colquitt       J.P. Morgan Chase Tower     2200 Ross Avenue 4900W   Dallas   TX      75201
                                                              Matthew Clemente, Alyssa
Counsel for Official Committee of                             Russell, Elliot A. Bromagen,
Unsecured Creditors                   Sidley Austin LLP       Dennis M. Twomey                One South Dearborn Street                            Chicago IL       60603
Counsel for Official Committee of
Unsecured Creditors, Marc. S.                                 Penny P. Reid, Paige Holden
Kirschner, as Litigation Trustee of                           Montgomery, Juliana Hoffman, 2021 McKinney Avenue
the Highland Litigation Sub-Trust     Sidley Austin LLP       Chandler M. Rognes           Suite 2000                                              Dallas   TX      75201
                                                                                           Chambers of Judge Stacey                  Room
Bankruptcy Judge                      US Bankruptcy Court     Hon. Stacey G Jernigan       G C Jernigan             1100 Commerce St 1254          Dallas   TX      75242-1496




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